EXHIBIT “B”
DOCKET NO.: KAJT-0024                                                                         PATENT
Application No.: 13/786,730
Office Action Dated: July 17, 2013


                   IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
   In re Application of:
                                                        Confirmation No.: 7425
   Matthew Donald Baker et al.
   Application No.: 13/786,730                          Group Art Unit: 2437
   Filing Date: March 6, 2013                           Examiner: Matthew Smithers
   For:         FEATURE MANAGEMENT OF A COMMUNICATION DEVICE
Mail Stop Amendment
Commissioner for Patents
P.O. Box 1450
Alexandria, VA 22313-1450
Dear Commissioner:
                                 REPLY PURSUANT TO 37 CFR § 1.111
          In response to the Official Action dated July 17, 2013, reconsideration is respectfully requested
in view oftbe amendments and/or remarks as indicated below:
          D        Amendments to the Specification begin on page of this paper.
          [8]      Amendments to the Claims are reflected in the listing of the claims which begins on
                   page 2 of this paper.

          •        Amendments to the Drawings begin on page
                   attached replacement sheet.
                                                                              of this paper and include an

          [8]      Remarks begin on page 9 of this paper.
          [8]      The Commissioner is hereby authorized to charge any fee deficiency, charge any
                   additional fees, or credit any overpayment of fees, associated with this application in
                   c01mection with this filing, or any future filing, submitted to the U.S. Patent and
                   Trademark Office during the pendency of this application, to Deposit Account No. 23-
                   3050.




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This listing of claims will replace all prior versions, and listings, of claims in tbe application.

Listing of Claims:

1.        (Currently Am.ended) A non-transitory computer readable storage medium comprising
instructions that, when executed on a computing device configured to perform a function on a
communication network managed by a service provider, cause the computing device to at least:
          send to a server a request to communicate with a remote computing device over the
communication network;
          receive in real-time from the server a response indicative of a decision granting or
denying the request, the decision being based on one or more policies that are stored at the server
and that are coB:figttred by based at least in part on input from an administrator; and
          enforce the response by enabling [[a]] the requested communication with the remote
computing device over the communication network when the decision grants the request and by
disabling the requested communication when the response denies the request, the requested
communication being enabled or disabled without storiRg accessing the one or more policies hY
Oft   the computing device.


2.        (Original) The non-transitory computer readable storage medium of claim 1, wherein the
computing device is a mobile phone.


3.        (Currently Am.ended) The non-transitory computer readable storage medium of claim 1,
wherein the one or more policies are assoffiated ,.,.r.i,th comprise a limit on units of value that can
be used to communicate with the remote computing device, wherein the decision denies the
request when communicating with the remote computing device causes the limit to be exceeded.


4.        (Currently Amended) The -non-transitory computer readable storage medium of claim 1,
wherein the one or more policies are associated \vith comprise a limit on units of value that can
be used to communicate with the remote computing device and one or more contacts associated
with one or more computing devices, wherein the decision grants the request when



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communicating with the remote computing device -is associated with a charge of units of value
that is within the limit, wherein the decision grants the request when communicating with the
remote computing device is associated with a charge of units of value that exceeds the limit and
when the remote computing device is [[ un]]associated with the one or more contacts, and
wherein the decision denies the request when communicating with the remote computing device
is associated with a charge of units of value that exceeds the limit and when the remote
computing device is unassociated with the one or more contacts.


5.      (Original) The non-transitory computer readable storage medium of claim 1, wherein the
communication comprises one or more of voice calling, messaging, data surfing, gaming, content
accessing, goods purchasing, and service purchasing.


6.      (Original) The non-transitory computer readable storage medium of claim 1, wherein the
one or more policies comprise one or more of a time-based policy, a location-based policy, and
quality of service-based policy.


7.      (Original) The non-transitory computer readable storage medium of claim l, wherein the
computing device is associated with a plan managed by the administrator, wherein the plan is
shared with a plurality of computing devices.


8.      (Currently Amended) The non-transitory computer readable storage medium of claim 7,
wherein the one or more policies are accessible by the administrator, and wherein each
computing device from the plurality of computing devices is associated with a -list set of one or
more policies, and wherein each !i&t set of one or more policies is customizable by the
administrator.


9.      (Original) The non-transitory computer readable storage medium of claim 8, wherein the
lists of one or more policies are accessible by the administrator via a website.




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10.     (Original) The non-transitory computer readable storage medium of claim 1, wherein the
one OT more policies comprise one or more blocked contacts associated with one OT more
computing devices, wherein the decision denies the request when the remote computing device is
associated with the one or more blocked contacts.


11.     (Original) The non-transitory computer readable storage medium of claim 1, wherein the
one or more policies control content that can be sent, received, or used by the computing device.


12.     (Original) The non-transitory computer readable storage medium of claim 1 further
comprising instructions that, when executed on the computing device, cause the computing
device to receive a notification when the response denies the request.


13.     ( Currently Am.ended) A computing device aHa configured to perforffi execute a function
ea using a communication network managed by a service provider, the computing device
comprising a memory bearing instructions that, when executed on the computing device, cause
the computing device to at least:
        process a request to run a function on the computing device, the function comprising
enabling a current communication with a remote computing device over the communication
network;
        retrieve access a decision stored on the computing device, the decision bemg having been
received from a server and being based on a policy that is stored at the server and that determines
whether the function is permitted to run on the computing device, the determination being based
on a previous communication with the remote computing device, the policy being managed by
an administrator;
        receive from the server an update to the decision;
        determine whether the request is granted or denied based on the decision and the update;
and
        enable or disable [[a]] the communication with the remote computing device over the
communication network based on the determination.


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14.     (Cunently Amended) The computing device of claim 13, wherein the policy establishes a
tetal prohibition on content that can be sent, received, or used.


15.     (Original) The computing device of claim 13, wherein the pol.icy establishes a quantity
limit on content that can be sent, received or used in a given period of time.


16.     (Original) The computing device of claim 13, wherein the policy establishes a limit on
how many units of value can be spent by the user on content that can be sent, received, or used in
a given period of time.


17.     (Original) The computing device of claim 16, wherein the instructions, when executed on
the computing device, further cause the computing device to notify the administrator, a user of
the computing device, or both the administrator and the user when the limit on how many units
of value can be spent by the user has been reached.


l 8.    (Original) The computing device of claim ] 3, wherein the policy establishes a limit on a
type of content that can be sent, received, or used.


19.     (Original) The computing device of claim 18, wherein the limit on a type of content is
determined by a filter that reviews content that can be sent, received, or used.


20.     (Original) The computing device of claim 19, wherein the filter is established and
managed by the administrator.


21.     (Original) The computing device of claim 19, wherein the filter is established and
managed by a third party or by the service provider.




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22.     (Currently Amended) A method executed on a computing device configured to pefform
execute a function oo using a communication network managed by a service provider, the
method comprising:
        initiating a request to communicate with a remote computing device over the
communication network;
        receiving from a server an update to a list of one or more policies stored on the
computing device, the list being one or more policies having been previously downloaded from
the server,. fffitl the one or more policies based on input from being maaaged by an administrator;
        determining whether the request is granted or denied based on the ti-st one or more
policies and the update;
        receiving,. from the server,. data indicative of an action that is consistent with the
determination, the data being received in response to sending information indicative of the
determination to the server, the action enforcing the dete1mination by enabling a communication
with the remote computing device when the information is indicative that the request is granted
and by disabling the communication when the information is indicative that the request is denied;
and
        communicating with the remote computing device over the communication network
based on the action.


23.     (Cun-ently Amended) The method of claim 22, wherein the +i-st-ef one or more policies
include[[s a]] user established list-ef policies and a list of policies established by the
administrator, and wherein the established list of policies established by the administrator can
take precedence over the user established !i-st-et' policies.


24.     (Currently Amended) The method of claim 23, wherein the -HSt-ef one or more policies
further include[[s a]] third party established~ policies, and wherein the third party
established -list--ef policies can take precedence over the user established HSt---e.f policies and the
administrator established ttSt-ef policies.




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25.       (Currently Amended) The method of claim 24, wherein       at1:   instittttion atteaded by the user
creates and manages the third party established ttSt---& policies is based on input from an
institution associated with the user.


26.       (Currently Amended) The method of claim 24, wherein an effipio1·er of tee ttser creates
and manages the third party established tisHH policies is based on input from an employer
associated with the user.


27.       (Currently Amended) A method for controlling a computing device configured to
perform execute a function oo using a communication network managed by a service provider,
the method comprising:
          sending to a server a request to communicate w ith a remote computing device over the
communication network;
          receiving in real-time from the server a decision granting or denying the request, the
decision being based on a policy stored at the server and configured by an administrator; and
          enforcing the decision by enabling a communication with the remote computing device
over the communication network when the decision grants the request and by disabling the
communication when the decision denies the request, the communication being enabled or
disabled without storing the policy on the computing device.


28.       (Currently Amended) The computing device of claim 27, wherein the decision that denies
the request ieeh-:1des is further indicative of terminating the request, redirecting the request, or
degrading the request.


29.       (Currently Amended) The computing device of claim 28, wherein the policy comprises a
quality of service policy, and wherein the degrading the request is based on the quality of service
policy.




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30.     (Currently Amended) The computing device of claim 27, vmerein tae cleei:stofl: tJ::i.frt graRts
the request inclucles further comprising one of decrementing a charge of units of value from an
account associated with the computing device, determining a balance of units of value in the
account, determining a status of the account, or implementing the request when the decision
grants the request.




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                                                REMARKS

        Claims 1-30 are pending in the present application. Claims 1-30 stand rejected. Further
examination of the present application in view of the following remarks is hereby requested.
Claims 1, 3, 4, 8, 13, 14 and 22-30 have been amended to further clarify the claims.


                                     Claim Rejections-35 V.S.C. § 112

        Claim 4 stand rejected under 35 U.S.C. § l 12(b) or 35 U.S.C. § 112 (pre-A1A), second
paragraph, as being indefinite. Office Action, at 2. Applicants respectfully request
reconsideration. The Office Action states that it is not clear how the server can send a grant
decision and a deny decision based on the same set of conditions. Id. at 3.
        Claim 4 has been amended to correct a typographical error, clarifying that the grant
decision and a deny decision are based on different conditions. Reconsideration and withdrawal
of the rejection of this claim under 35 U.S.C. § I 12(b) is respectfully requested.


                                     Claim Rejections - 35 U.S. C. § 102

        Claims 1-30 stand rejected under pre-AJA 35 U.S.C. § 102(b) as being anticipated by
Bales et al., hereinafter Bales, U.S. Patent Publication No. 2006/0025139. Office Action, at 3.
Applicants respectfully request reconsideration.
        Claim 1, as amended, recites, in part:
                ... cause the computing device to at least:
                        send to a server a request to communicate with a remote computing device
                over the communication network;
                        receive in real. time from the server a response indicative of
                a decision granting or denying the request, the decision being
                based on one or more policies that are stored at the server and
                based at least in part on input from an administrator; and
                        enforce the response by enabling the requested
                communication with the remote computing device over the
                communication network when the decision grants the request and
                by disabling the requested communication when the response
                denies the request, the requested communication being enabled or


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                disabled without accessing the one or more policies by the
                computing device.
        The Office asserts that the Abstract, paragraphs [0046]-[0049], [0060]-[0061], [0234]-
[0254], and Figures 3-5 and 12-13 of Bales disclose the limitations of claim 1. Office Action, at
3-5. Applicants submit that Bales, as cited and in general, fails to disclose the subject matter of
claim 1 for a number of reasons.
        Bales discloses a system (media gateway system 74 and CSCF 76, see Figure 3) between
a radio area network (RAN) 12 and an JP PBX network (private branch exchange server 50 --- a
system, for example, that receives a called number placed by a cell phone 74 and uses an
extension to connect the call to a phone (54, 56, 58) within the IP PBX network). Bales also
enables the JP PBX services to be extended to the cell phone ( e.g., calling a number and
inputting an extension to connect to the cell phone). However, this is different from claim I
because Bales does not describe a distributed architecture where g.9Jicy decisions c!.t:.l:l. 1?£1,,formed
at tbe server level and those policies are enforced on the phone itself. The Office fails to note that
claim I recites that the "computing device" is caused to "send to a serveJ a request," "receive
from the server a response," and "enforce the response," but without the computing device
accessing the policies. In Bales, the communication device does not receive the response from
the server and does not enforce the response.
        For example, Bales paragraph [0046] discl.oses:
                        Call session control function (CSCF) 76 serves as a trigger
                point to invoke various policy logic when setting up a
                communication in the integrated cellular-PBX system ... CSCF 76
                further includes or has a communication link with various policy
                servers 84, which contain policy logic for determining how to
                handle particular communication setup requests and the like. CSCF
                76 is then coupled with IP PBX server 50, so as to facilitate
                signaling with the IP PBX server.

        Bales paragraph [0238] discloses:
                         When CSCF 76 receives a SIP INVITE seeking to set up a
                call for WCD 14 from MGC 80 to IP PBX 50 or a SIP INVITE
                seeking to set up a call for WCD 14 from JP PBX 50 to MGC 80,
                CSCF 76 may perform some or all of the functions described
                above to determine whether the cellular-PBX integration service


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                should be provided, such as whether the WCD is currently
                checked-into or checked-out of the cellular-PBX integration
                service.


        In contrast, the above subject matter of claim 1 recites that the computing device receives
from the server a response indicative of a "decision granting or denying a request to
communicate with a remote computing device over the communication network." The decision
is based on one or more policies that are stored at the server. Furthermore, the device enforces
the response by "enabling the requested communication with the remote computing device over
the communication network when the decision grants the request." The device also enforces the
response by "disabling the requested communication when the response denies the request, the
requested communication being enabled or disabled without accessing the one or more policies
by the computing device" ( emphasis added).
        Such a device that enforces a response from the server is not disclosed by Bales. Instead,
Bales [0241] discloses that the CSCF enforces decisions from policy server:
                       If the account balance policy server 100 determines that the
                WCD does not have a sufficient remaining balance, the account
                balance policy server l 00 will send a response message back to
                CSCF 76 directing CSCF 76 to not apply cellular-PBX integration.

        Likewise, Bales [0061] describes how:

                       The policy server may then further modify or reform the
                signaling message and pass it back or along to CSCF 76, which
                may then carry out a designated service policy.


        For at least these reasons, Applicants submit that Bales fails to anticipate the invention
recited in claim 1 or dependent claims 2-12 which depend on claim 1. Applicants respectfully
request reconsideration and withdrawal of the 35 U.S.C. § 102 rejection of claims 1-12.
        Applicants herein also address the Office' s rejections specific to some of the dependent
claims, including claims 4, 7, 8, 10, and 11.
        Regarding claim 4, the claim recites in part:
                the decision grants the request when communicating with the
                remote computing device is associated with a charge of units of


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                value that is within the limit, wherein the decision grants the
                request when communicating with the remote computing device is
                associated with a charge of units of value that exceeds the limit and
                when the remote computing device is associated with the one or
                more contacts, and wherein the decision denies the request when
                communicating with the remote computing device is associated
                with a charge of units of value that exceeds the limit and when the
                remote computing device is unassociated with the one or more
                contacts.

        The Office generally alleges that Bales paragraphs [0046)-(0049]; [0060)-(0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 6.
However, these specific citations only describe allowing PBX integration when the number of
allowed minutes is not exhausted, and makes no mention of contacts, let alone determining that
the remote device is associated with one or more contacts and permitting or denying calls on that
basis. For at least this reason, Applicants submit that Bales fails to at least disclose the above
subject matter of claim 4.
        Regarding claim 7, the claim recites in part:
                wherein the computing device is associated with a plan managed
                by the administrator, wherein the plan is shared with a plurality of
                computing devices.

        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060)-(0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. qfficeAction., at 7.
However, these specific citations only describe allowing or disallowing PBX integration,
including when the number of allowed minutes is not exhausted, and makes no mention of a plan
that is shared with a plurality of computing devices. For at least this reason, Applicants submit
that Bales fails to at least disclose the above subject matter of claim 7.
        Regarding claim 8, the claim recites in part:
                wherein the one or more policies are accessible by the
                administrator, and wherein each computing device from the
                plurality of computing devices is associated with a set of one or
                more policies, and wherein each set of one or more policies is
                customizable by the administrator.




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        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 7.
However, these specific citations only describe allowing or disallowing PBX integration,
including when the number of allowed minutes is not exhausted, and makes no mention that a
plurality of devices are associated with a set of policies, each of which is customizable by the
administrator. For at least this reason, Applicants submit that Bales fails to at least disclose the
above subject matter of claim 8.
        Regarding claim 10, the claim recites in part:
                wherein the one or more policies comprise one or more blocked
                contacts associated with one or more computing devices, wherein
                the decision denies the request when the remote computing device
                is associated with the one or more blocked contacts.

        The Office asserts that Bales paragraph [0010] discloses the above subject matter. Office
Action, at 8. However, Bales paragraph [001 0] only discloses that a given WCD (wireless
communication device) can be selectively turned on or off from using the cellular-PBX
integration function, and makes no mention of denying a request for a device to communicate
with a remote device when the remote device is associated with one or more blocked contacts.
For at least this reason, Applicants submit that Bales fails to at least disclose the above subject
matter of claim 10.
        Regarding claim 11, the claim recites in part:
                wherein the one or more policies control content that can be sent,
                received, or used by the computing device.

        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 8.
However, these specific citations only describe allowing or disallowing PBX integration, and
makes no mention of controlling content that can be sent, received, or used by the computing
device. For at least this reason, Applicants submit that Bales fails to at least disclose the above
subject matter of claim 1.
        Turning to independent claim 13 and its dependent claims 14-21, Applicants address the
Office's rejection of claim 13 first and then to its dependent claims.


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        Regarding claim 13, the Office rejects the limitations of:
                ... cause the computing device to at least:
                        process a request to run a function on the computing
                device, the function comprising enabl ing a current communication
                with a remote computing device over the communication network;
                        access a decision stored on the computing device, the
                decision having been received from a server and being based on a
                policy that is stored at the server and that determines whether the
                function is permitted to run on the computing device, the
                determination being based on a previous comrnuni.c ation with the
                computing device, the policy being managed by an administrator;
                         receive from the server an update to the decision;
                        determine whether the request is granted or denied based
                on the decision and the update; and
                       enable or disable the communication with the remote
                computing device over the communication network based on the
                determination
based on similar citations as cited against the limitations of claim 1. Office Action, at 9-J l. For
reasons similar to those discussed above with respect to claim 1, Bales fails to anticipate the
invention recited in claim 13.
        Claim 13 recites in paii that the computing device is caused to:
                access a decision stored on the computing device, the decision
                having been received from a server and being based on a policy
                that is stored at the server and that determines whether the function
                is permitted to run on the computing device, the determination
                being based on a previous communication with the computing
                device, the policy being managed by an administrator.
(emphasis added). As discussed above, Bales discloses a media gateway system 74 and CSCF 76
between a radio area network and an IP PBX network so that IP PBX services can be extended to
the cell phone, and that the CSCF 76 enforces decisions from policy server 100. However, Bales
does not disclose that a decision from the server is stored on the computing device and accessed
by the computing device.
        Claim 13 also recites that the computing device is caused to:
                        receive from the server an update to the decision;



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                        determine whether the request is granted or denied based
                on the decision and the update
(emphasis added). None of the passages cited in the Office Action discusses updates to the
decision that is stored on the computing device, or that the request is granted or denied based on
the decision and the update stored on the computing device.
        For at least the above additional reasons, and for reasons similar to those noted above
with respect to claim 1, Applicants submit that Bales fails to anticipate the invention recited in
claim 13 and its dependent claims 14-21. Applicants respectfully request reconsideration and
withdrawal of the 35 U.S.C. § 102 rejection to claim 13 and dependent claims 14-21.
        Tn addition, regarding claim 15, the claim recites in part:
                wherein the policy establishes a quantity limit on content that can
                be sent, received or used in a given period of time.

        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 11.
However, these specific citations only describe allowing or disallowing PBX integration under
certain conditions, but makes no mention of a quantity limit on content that can be sent, received
or used in a given period of time. For at least this reason, Applicants submit that Bales fails to at
least disclose the above subject matter of claim 15.
        Regarding claim 18, the claim recites in part:
                wherein the policy establishes a limit on a type of content that can
                be sent, received, or used.

        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 12.
However, these specific citations only describe allowing or disallowing PBX integration under
certain conditions, but makes no mention of a limit on a type ofcontent that can be sent,
received, or used. For at least this reason, Applicants submit that Bales fails to at least disclose
the above subject matter of claim 18.
        Regarding claim 19, the claim recites in part:
                wherein the limit on a type of content is determined by a filter that
                reviews content that can be sent, received, or used.


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        The Office generally alleges that Bales paragraphs (0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. qfjlce Action, at 12.
However, these specific citations only describe allowing or disallowing PBX integration under
certain conditions, but makes no mention of a type of content, let alone a filter that reviews
content that can be sent, received, or used. For at least this reason, Applicants submit that Bales
fails to at least disclose the above subject matter of claim 19.
        Regarding claim 20, the claim recites in pali:
                wherein the filter is established and managed by the administrator.

        The Office generally alleges that BaJes paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12- l 3 disc loses the above subject matter. Office Action, at 12.
However, these specific citations only describe that settings can be provisioned by a web
interface, but makes no mention that the filter is established and managed by an administrator.
For at least this reason, Applicants submit that Bales fai ls to at least disclose the above subject
matter of claim 20.
        Regarding claim 21, the claim recites in pa11:
                wherein the filter is established and managed by a third party or by
                the service provider.

        The Office generally alleges that Bales paragraphs [0046]-[0049]; [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 12.
However, these specific citations only describe that settings can be provisioned by a web
interface, but makes no mention that the filter is established and managed by a third pa1ty or by
the service provider. For at least this reason, Applicants submit that Bales fails to at least disclose
the above subject matter of claim 21.
        Now, turning to independent claim 22 and its dependent claims 23-26, Applicants address
the Office's rej ection of claim 22 first and then its dependent claims.
        Regarding claim 22, the Office rejects claim 22 on similar grounds as claim 13. Office
Action, at 12-14. Claim 22 recites similar features as in claim 13. Accordingly, for reasons




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simil.ar to those noted above with respect to claim 13, Applicants submit that Bales fails to
anticipate the invention recited in claim 22 and its dependent claims 23-26.
        Furthermore, claim 22 recites in part:
                receiving from a server an update to one or more policies stored on
                the computing device, the one or more policies having been
                previously downloaded from the server, the one or more policies
                based on input from an administrator.
        As discussed above, Bales discloses a media gateway system 74 and CSCF 76 between a
radio area network and an IP PBX network so that IP PBX services can be extended to the cell
phone, and that the CSCF 76 enforces decisions from policy server 100. However, Bales does
not disclose that policies are stored on the computing device, or that an update to the policies is
received from the server.
        Claim 22 also recites:
                        determining whether the request is granted or denied based
                on the one or more policies and the update
(emphasis added). None of the passages cited in the Office Action discusses updates to the
policies, or that the request is granted or denied based on the policies and the update.
        For at least the above additional reasons, and for reasons similar to those noted above,
Applicants submit that Bales fai ls to anticipate the invention recited in claim 22 and its
dependent claims 23-26. Applicants respectfully request reconsideration and withdrawal of the
35 U.S.C. § 102 rejection to claim 22 and dependent claims 23-26.
        Regarding claim 24, the claim recites in part:
                wherein the one or more policies further include third party
                established policies, and wherein the third party established
                policies can take precedence over the user established policies and
                the administrator established policies.

        The Office generally alleges that Bales paragraphs [0046]-[0049t [0060]-[0061]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. qfjice Action, at 15.
However, these specific citations only describe that settings can be provisioned by a web
interface, but makes no mention that the policies include third party established policies, or that
the third party established policies can take precedence over the user established policies and the



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administrator established policies. For at least this reason, Applicants submit that Bales fails to at
least disclose the above subject matter of claim 24.
        Turning to independent claim 27 and its dependent claims 28-30, the Office rejects these
claims on similar grounds as claims 1-26. Office Action, at 15-18. Independent claim 27 recites
similar features as claim 1, for example. Accordingly, for reasons similar to those noted above
with respect to claims 1-26, Applicants submit that Bales fails to anticipate the invention recited
in claim 27 and its dependent claims 28-30. Applicants respectfully request reconsideration and
withdrawal of the 35 U.S.C. § 102 rejection to claim 27 and dependent claims 28-30.
        Regarding claim 28, the claim recites in part:
                wherein the decision that denies the request is further indicative of
                terminating the request, redirecting the request, or degrading the
                request.

        The Office generally alleges that Bales paragraphs [0046]-[0049t [0060)-(0061 ]; [0234]-
[0254]; and Figures 3-5 and 12-13 discloses the above subject matter. Office Action, at 17.
However, these specific citations only describe allowing and disallowing PBX integration,
including when the number of allowed minutes is not exhausted, and makes no mention of
terminating the request, redirecting the request, or degrading the request. For at least this reason,
Applicants submit that Bales fails to at least disclose the above subject matter of claim 28.
        For all of the foregoing reasons, Applicants respectfully submit that claims 1-30 are
patentable. Reconsideration is respectfully requested.




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                                          CONCLUSION
        Based on the foregoing remarks and amendments, Applicants respectfully request
withdrawal of the rejection and the issuance of a notice of allowance. If, for any reason, the
Examiner feels that the claims are not in a condition for allowance, Applicants encourage the
Examiner to contact Applicants' undersigned attorney in order to resolve any remaining issues.
        Further, Applicants respectfully put the Patent Office and all others on notice that all
arguments, representations, and/or amendments contained herein are only applicable to the
present application and should not be considered when evaluating any other patent or patent
application including any patents or patent applications which claim priority to this patent
application and/or any patents or patent applications to which p1iority is claimed by this patent
application.


                                                       Respectfully submitted,




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